                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                        DOCKET NO. 1:15-cr-00097-MOC-DLH

                                            )
 UNITED STATES OF AMERICA,                  )
                                            )
                                            )
 Vs.                                        )                     ORDER
                                            )
 KEVIN WAYNE VANOVER and                    )
 MEREDITH ANN YATES,                        )
                                            )
                Defendants.                 )




       THIS MATTER is before the court on Defendants’ Motions to Continue (##43,

44), as well as the Government’s Motion to Sever Defendant (#30). Having considered

such motions and reviewed the pleadings, the court enters the following Order.

                                         ORDER

       IT IS, THEREFORE, ORDERED that Defendants’ Motions to Continue (##43,

44) are GRANTED, this matter is continued to the next criminal term, and the court finds

the delay caused by such continuance shall be excluded in accordance with 18 U.S.C. §

3161(h)(7)(B)(iv), as failure to grant such a continuance would deny counsel for the

defendant the reasonable time necessary for effective preparation, taking into account the

exercise of due diligence. Further, the ends of justice served by granting such continuance

outweigh the best interests of the public and the defendant in a speedy trial. Specifically,

defendants and counsel have shown a need for additional time to prepare for trial or other

resolution of this matter, including potentially altering trial strategy based on the



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superseding indictment filed three days before trial was scheduled to commence, as well

as exploring the possibility of filing additional motions related to the superseding

indictment. Accordingly, this matter is continued to the June 2016 Asheville mixed term,

and the time is excluded. Though this matter will be placed on the June calendar, the court

notes that all counsel stated in open court on April 7, 2016 that they would endeavor to be

prepared for trial in early May 2016. The court will place this matter on the calendar for

trial once it has determined whether a date in May will work with the court’s schedule.



       IT IS FURTHER ORDERED that, for the reasons stated in open court on April 7,

2016, and based on the colloquy between Defendant Vanover, his counsel, and the court in

open court on the same day, the Government’s Motion to Sever (#30) is DENIED and this

matter will proceed as a joint trial.




   Signed: April 7, 2016




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